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                              No. 24-30706

   In the United States Court of Appeals for the Fifth Circuit
DARCY ROAKE, REVERAND, ON BEHALF THEMSELVES AND ON BEHALF OF
THEIR MINOR CHILDREN, REAL PARTY IN INTEREST A.V., REAL PARTY IN
INTEREST S.V.; ADRIAN VAN YOUNG, ON BEHALF OF THEMSELVES AND ON
BEHALF OF THEIR MINOR CHILDREN, REAL PARTY IN INTEREST A.V., REAL
PARTY IN INTEREST S.V.; MAMIE BROADHURST, REVEREND, ON BEHALF OF
THEMSELVES AND ON BEHALF OF THEIR MINOR CHILD, REAL PARTY IN
INTEREST N.W.; RICHARD WILLIAMS, REVEREND, ON BEHALF OF
THEMSELVES AND ON BEHALF OF THEIR MINOR CHILD, REAL PARTY IN
INTEREST N.W.; JEFF SIMS, REVEREND, ON BEHALF OF HIMSELF AND ON
BEHALF OF HIS MINOR CHILDREN, REAL PARTY IN INTEREST A.S., REAL PARTY
IN INTEREST C.S. 1, REAL PARTY IN INTEREST C.S. 2; JENNIFER HARDING, ON
BEHALF OF THEMSELVES AND ON BEHALF OF THEIR MINOR CHILD, REAL PARTY
IN INTEREST A.O.; BENJAMIN OWENS, ON BEHALF OF THEMSELVES AND ON
BEHALF OF THEIR MINOR CHILD, REAL PARTY IN INTEREST A.O.; DAVID
HAWLEY, ON BEHALF OF THEMSELVES AND ON BEHALF OF THEIR MINOR
CHILDREN REAL PARTY IN INTEREST A.H., REAL PARTY IN INTEREST L.H.;
ERIN HAWLEY, ON BEHALF OF THEMSELVES AND ON BEHALF OF THEIR MINOR
CHILDREN, REAL PARTY IN INTEREST A.H, REAL PARTY IN INTEREST L.H.;
DUSTIN MCCRORY, ON BEHALF OF THEMSELVES AND ON BEHALF OF HIS
MINOR CHILDREN, REAL PARTY IN INTEREST E.M.; REAL PARTY IN INTEREST
P.M., REAL PARTY IN INTEREST L.M.; GARY SERNOVITZ, ON BEHALF OF
THEMSELVES AND ON BEHALF OF THEIR MINOR CHILD, REAL PARTY IN
INTEREST T.S.; MOLLY PULDA, ON BEHALF OF THEMSELVES AND ON BEHALF
OF THEIR MINOR CHILD. REAL PARTY IN INTEREST T.S.; CHRISTY ALKIRE, ON
BEHALF OF HERSELF AND ON BEHALF OF HER MINOR CHILD , REAL PARTY IN
INTEREST L.A.; JOSHUA HERLANDS, ON BEHALF OF HIMSELF AND ON BEHALF
OF HIS MINOR CHILDREN, REAL PARTY IN INTEREST E.H., REAL PARTY IN
INTEREST J.H.,

                                         Plaintiffs-Appellees
                                    v.

CADE BRUMLEY, IN HIS OFFICIAL CAPACITY AS THE LOUISIANA STATE
SUPERINTENDENT OF EDUCATION; CONRAD APPEL, IN HIS OFFICIAL CAPACITY
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AS A MEMBER OF THE      LOUISIANA STATE BOARD OF ELEMENTARY AND
SECONDARY EDUCATION (LSBESE); JUDY ARMSTRONG, IN HER OFFICIAL
CAPACITY AS A MEMBER OF THE LSBESE; KEVIN BERKEN, IN HIS OFFICIAL
CAPACITY AS A MEMBER OF THE LSBESE; PRESTON CASTILLE, IN HIS
OFFICIAL CAPACITY AS A MEMBER OF LSBESE; SIMONE CHAMPAGNE, IN HER
OFFICIAL CAPACITY AS A MEMBER OF THE LSBESE; SHARON LATTEN-CLARK,
IN HER OFFICIAL CAPACITY AS A MEMBER OF THE LSBESE; LANCE HARRIS, IN
HIS OFFICIAL CAPACITY AS A MEMBER OF LSBESE; PAUL HOLLIS, LOUISIANA
STATE BOARD OF ELEMENTARY AND SECONDARY EDUCATION; SANDY
HOLLOWAY, IN HER OFFICIAL CAPACITY AS A MEMBER OF THE LSBESE;
STACEY MELERINE, IN HER OFFICIAL CAPACITY AS A MEMBER OF THE
LSBESE; RONNIE MORRIS, IN HIS OFFICIAL CAPACITY AS A MEMBER OF THE
LSBESE; EAST BATON ROUGE PARISH SCHOOL BOARD; LIVINGSTON PARISH
SCHOOL BOARD; VERNON PARISH SCHOOL BOARD; ST. TAMMANY PARISH
SCHOOL BOARD,
                                       Defendants-Appellants



           On Appeal from the United States District Court
                for the Middle District of Louisiana
             No. 3:24-cv-517, Hon. John W. deGravelles


   PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANTS’ EMERGENCY
             MOTION FOR ADMINISTRATIVE STAY PENDING
     DISPOSITION OF THE STATE’S FORTHCOMING MOTION FOR STAY
                          PENDING APPEAL



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         The State Defendants’ emergency motion for an administrative

stay (the “Motion”) of the Notice Provision of the district court’s

November 12, 2024, Order is procedurally improper and without merit.

For the reasons set forth below, it should be denied.

                                     ARGUMENT

         I.       The State Defendants’ Motion Improperly Raises Arguments
                  for the First Time on Appeal That Were Not Raised Below.

         A “district court should have the opportunity to rule on the

reasons and evidence presented in support of a stay, unless it clearly

appears that further arguments in support of the stay would be

pointless in the district court.” Ruiz v. Estelle, 650 F.2d 555, 567 (5th

Cir. 1981); see also 16A Wright & Miller, Fed. Prac. & Proc. Juris. §

3954 (5th ed. 2024) (“The cardinal principle with respect to stay

applications . . . is that the relief ordinarily must first be sought in the

lower court.”). The State Defendants have failed to comply with this

rule.1



        While the State Defendants’ Motion is not technically filed
         1

pursuant to Rule 8, the same principles should apply and the strictures
are especially pertinent here because the State Defendants’
administrative stay request is tied directly to their forthcoming Rule 8
motion for a stay pending appeal. See Mot. At 5. It follows that they
will likewise be barred from raising new arguments against the Notice
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     Before the district court even ruled in the case, Defendants

prematurely sought a stay pending appeal. The lone paragraph of their

motion to dismiss dedicated to this alternative request for a stay does

not even mention a stay of any potential Notice Provision, see Ex. B at

49, despite the fact that Plaintiffs’ motion for preliminary injunction

explicitly called for an order commanding the State Defendants to

“provide a copy of any preliminary injunction granted to all Louisiana

public elementary, secondary, and charter schools, and all public post-

secondary education institutions,” Ex. A at 1–2.

     Defendants’ only discussion of the Notice Provision in their

briefing appeared in a single paragraph, in which they cited Justice

Gorsuch’s concurring opinion in Labrador v. Poe, 144 S. Ct. 921, 921

(2024), but made none of the other arguments set forth in their Motion

here, including their free-speech and anti-commandeering arguments.

Ex. B at 48–49. Nor did they make any arguments before the district

court pertaining to the irreparable harm the state would allegedly

suffer as a result of any Notice Provision or the balance of equities and


Provision in that motion, undercutting any likelihood of success on the
merits that they may have on that issue.


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public interest vis-à-vis such a Notice Provision. All of these arguments

should be presented first to the district court. See Ruiz, 650 F.2d at 567

(“It is clear that, with respect to some of the contentions and affidavits

presented in and with the State’s motion for stay pending appeal, the

district court would not be hearing anything new . . . However, it is also

apparent from the materials presented to this court in support of the

State’s motion for stay that some of these matters were not presented to

the district judge and should be so considered by him prior to any action

by this court.”).

      The State Defendants’ Motion highlights precisely why they the

district court—and not this Court—is the proper initial audience for the

relief sought. For example, the Notice Provision does not specify any

deadline for providing notice, and it does not impose any monitoring of

State Defendants’ compliance therewith. Thus, whether the State

Defendants are correct that they are now subject to “the threat of

sanctions” is simply not clear. When and under what circumstances

would the district court sanction the State Defendants for refusing to

provide notice? What, exactly, is required of State Defendants to

comply with the Notice Provision? These are questions that only the


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district court can answer, and which, unanswered, render the requested

stay here premature and improper.

     II.   The Notice Provision is Proper.

     The Notice Provision is well within the district court’s authority to

order, and it imposes no considerable burden on the State Defendants.

The State Defendants wrongly assert that “it is undisputed that

Plaintiffs sued for an injunction against only five Louisiana school

boards.” Mot. at 7. To the contrary, and as the case caption makes

clear, Plaintiffs additionally sued the State Defendants to restrain them

from aiding in the unconstitutional implementation of H.B. 71,

including by carrying out their obligations under the Act. See Ex. A at

1 (seeking relief “restraining, enjoining, and/or prohibiting (1) all

Defendants and their officers, agents, affiliates, subsidiaries, servants,

employees, successors, and all other persons or entities in active concert

or privity or participation with them, from . . . enforcing[] House Bill

No. 71”) (emphasis added).

     Under H.B. 71, the State Defendants have statewide duties, which

they neither contest nor acknowledge in the Motion. The statute

requires BESE to “adopt rules and regulations . . . to ensure the proper


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implementation of” the law throughout the state. H.B. 71(B)(6)(a); see

Order at 8 (“[C]ontrary to AG Defendants’ position, these defendants

have a particular duty to enforce the Act, a willingness to do so, and the

ability to compel and constrain others to obey the challenged law.”).

The district court’s injunction appropriately prohibits them from

carrying out these statewide duties in violation of the First

Amendment. See, e.g., New York v. United States, 505 U.S. 144, 179

(1992) (“[T]he Supremacy Clause makes federal law paramount over the

contrary positions of state officials; the power of federal courts to

enforce federal law thus presupposes some authority to order state

officials to comply.”). And the Notice Provision is “properly viewed as

ancillary to the prospective relief already ordered” by the district court.

Quern v. Jordan, 440 U.S. 332, 349 (1979).

     III.   The State Defendants’ Free Speech Arguments are Without
            Merit.

     The First Amendment exists to protect private speakers from

government action, not to protect the government from penalties

imposed by courts vindicating litigants’ rights. Cf. Moody v. NetChoice,

LLC, 144 S. Ct. 2383, 2407 (2024) (directing this Court to revisit its

decision regarding government regulation of private curation because,

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though “[s]tates (and their citizens) are of course right to want an

expressive realm in which the public has access to a wide range of views

. . . the way the First Amendment achieves that goal is by preventing

the government from tilting public debate in a preferred direction.”

(cleaned up and citation omitted)). While states may generally have the

right to speak on their own behalf, Defendants have pointed to no case

holding that the Free Speech Clause somehow entitles government

actors to refuse to carry out judicially imposed remedies that may

involve some form of expression. Indeed, Defendants’ argument here

would subject to First Amendment scrutiny any law or court order

requiring the government to provide a written or oral statement—for

example, a directive to file a particular brief or send a written notice, or

even the requirement that government officials provide Miranda

warnings. This would lead to untenable and potentially disastrous

results.


     Moreover, the district court’s order does not compel the state

Defendants to “endorse” anything. It merely requires them to notify

schools of the court’s order finding that H.B. 71 is unconstitutional.



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Defendants have numerous other avenues and vehicles through which

they may tout their view that H.B. 71 is constitutional.




Dated: November 14, 2024
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                        CERTIFICATE OF SERVICE

            I hereby certify that, on November 14, 2024, an electronic copy of the

foregoing document was filed with the Clerk of the Court for the United States

Court of Appeals for the Fifth Circuit and served on counsel for Appellants

using the appellate CM/ECF system.


Dated:      November 14, 2024

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                     CERTIFICATE OF COMPLIANCE


      Pursuant to Fifth Circuit Rule 32.3, the undersigned certifies that this motion

complies with:


      (1) the type-volume limitations of Federal Rule of Appellate Procedure 27

         (d)(2) because it contains 1,231 words; and


      (2) the typeface requirements of Rule 32(a)(5) and the type-style

         requirements of Rule 32(a)(6) because it has been prepared in a

         proportionally spaced typeface using Microsoft Word 2016 in 14-point

         Times New Roman.




Dated:      November 14, 2024

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